  Case 1:20-cv-01047-UNA Document 7 Filed 08/06/20 Page 1 of 4 PageID #: 648




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

NATERA, INC.,                                      )
                                                   )
                        Plaintiff,                 )
                                                   )
        v.                                         )     C.A. No. 20-1047 (UNA)
                                                   )
ARCHERDX, INC.,                                    )
                                                   )
                        Defendant.                 )

                                   MOTION AND ORDER
                               FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5 and the attached certifications, counsel moves the admission pro

hac vice of William G. Gaede, III and Bhanu K. Sadasivan of MCDERMOT WILL & EMERY LLP to

represent plaintiff Natera, Inc. in this matter.

                                                       MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                       /s/ Derek J. Fahnestock

                                                       Jack B. Blumenfeld (#1014)
                                                       Derek J. Fahnestock (#4705)
                                                       Anthony D. Raucci (#5948)
                                                       1201 North Market Street
                                                       P.O. Box 1347
                                                       Wilmington, DE 19899-1347
                                                       (302) 658-9200
                                                       jblumenfeld@mnat.com
                                                       dfahnestock@mnat.com
                                                       araucci@mnat.com

                                                       Attorneys for Plaintiff Natera, Inc.

August 8, 2020
 Case 1:20-cv-01047-UNA Document 7 Filed 08/06/20 Page 2 of 4 PageID #: 649




                              ORDER GRANTING MOTION

       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice of William G.

Gaede, III and Bhanu K. Sadasivan is granted.



Dated: ______________________
                                                     United States District Judge
  Case 1:20-cv-01047-UNA Document 7 Filed 08/06/20 Page 3 of 4 PageID #: 650




          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of California and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am generally

familiar with this Court’s Local Rules. In accordance with Standing Order for District Court Fund

effective 9/1/16, I further certify that the annual fee of $25.00 has been paid        to the Clerk of

Court, or, if not paid previously, the fee payment will be submitted    to the Clerk’s Office upon the

filing of this motion.




Date: August 6, 2020
                                               William G. Gaede, III
                                               MCDERMOTT WILL & EMERY LLP
                                               275 Middlefield Road, Suite 100
                                               Menlo Park, CA 94025
                                               (650) 815-7400
  Case 1:20-cv-01047-UNA Document 7 Filed 08/06/20 Page 4 of 4 PageID #: 651




          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of California and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am generally

familiar with this Court’s Local Rules. In accordance with Standing Order for District Court Fund

effective 9/1/16, I further certify that the annual fee of $25.00 has been paid        to the Clerk of

Court, or, if not paid previously, the fee payment will be submitted    to the Clerk’s Office upon the

filing of this motion.




Date: August 6, 2020
                                               Bhanu K. Sadasivan
                                               MCDERMOTT WILL & EMERY LLP
                                               275 Middlefield Road, Suite 100
                                               Menlo Park, CA 94025
                                               (650) 815-7400
